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                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF OHIO
                             EASTERN DIVISION


UNITED STATES OF AMERICA,                 )       CASE NO.1:10CR387
                                          )
                                          )
                      PLAINTIFF,          )       JUDGE SARA LIOI
                                          )
vs.                                       )
                                          )       OPINION & ORDER
                                          )
JAMES C. DIMORA, et al.,                  )
                                          )
                                          )
                     DEFENDANTS.          )

              On the eve of trial, Defendant James C. Dimora moves to dismiss the

present indictment on the grounds that the filing of a subsequent indictment against him

in Case No. 1:11CR491 has exposed him to double jeopardy in this matter. (Doc. No.

570.) The government has filed a response in opposition to the motion. (Doc. No. 576.)

The motion is fully briefed and, as set forth below, is frivolous because it is premature

and brought in the wrong forum. It is, therefore, DENIED.

Background

              Both criminal indictments pending against Dimora and other defendants

stem from the same federal investigation, conducted over a number of years, into

allegations of public corruption and conspiracy in Cuyahoga County, Ohio. On

September 14, 2010, the grand jury returned a multi-count indictment against Dimora,

Defendant Michael Gabor and several other individuals in Case No. 1:10CR387

(hereinafter “Dimora I”). The Third Superseding Indictment charges Dimora with RICO

conspiracy, conspiracy to commit mail and wire fraud and honest services mail fraud,
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Hobbs Act conspiracy and substantive Hobbs Act violations, bribery concerning

programs receiving federal funds, tax fraud, obstruction, and destruction of records.

               Dimora I was originally set for trial beginning September 12, 2011.

Following a continuance granted at the request of Gabor and Dimora, the trial was

continued until January 4, 2012. The parties have completed extensive discovery and

motion practice, which has included the filing of more than 22 pre-trial motions and

numerous motions in limine. The Court and the parties are prepared to conduct voir dire

beginning on January 4, 2012.

               On October 20, 2011, more than one year after Dimora I was filed, a new

indictment was returned against Dimora and defendant Michael Forlani in Case No.

1:11CR491 (hereinafter “Dimora II”). Both men were charged with Hobbs Act

conspiracy, substantive Hobbs Act violations, conspiracy to commit mail and wire fraud

and honest services mail and wire fraud. Forlani is also charged with additional crimes,

including RICO conspiracy. While the various fraudulent schemes laid out in the Dimora

II indictment are distinct from those in Dimora I, the RICO conspiracy charged against

Forlani is substantially similar to the RICO conspiracy charged against Dimora and

Gabor in Dimora I.

               The original trial date of December 12, 2011 for Dimora II has been

continued, and the defendants have executed speedy trial wavers, which are valid through

the end of December 2012. No new trial date has been set, and the parties are just

beginning discovery. The Court has yet to issue a trial order in this matter. When it does,

it will include dates and deadlines for the filing of pre-trial motions and in limine


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motions. In other words, much work on the part of the parties and the Court must take

place before this case is ready for trial. 1

                  In his motion to dismiss, Dimora argues that the indictment in Dimora I

should be dismissed because the filing of the indictment in Dimora II has exposed him to

double jeopardy. The government opposes the motion, noting that Dimora has yet to be

exposed to any jeopardy. The government suggests that Dimora’s motion is premature.

Analysis

                  The Double Jeopardy Clause of the Fifth Amendment states that no person

shall “be subject for the same offense to be twice put in jeopardy of life or limb.” U.S.

Const. Amend. V. It protects against: (1) a second prosecution for the same offense, after

an acquittal; (2) a second prosecution for the same offense after a conviction; and (3)

multiple punishments for the same offense. Grady v. Corbin, 495 U.S. 508, 516 (1990)

(internal quotation and citation omitted); see United States v. Barrett, 933 F.2d 355, 360

(6th Cir. 1991). This Clause bars a second prosecution for the same offense only if

jeopardy attached in the original proceeding. See Ex parte Lange, 85 U.S. 163, 173-74

(1873). In a jury trial, jeopardy attaches when the jury is sworn. Crist v. Bretz, 437 U.S.

28, 29 (1978); Fultonv. Moore, 520 F.3d 522, 528 (6th Cir. 2008).

                  Neither case has gone to trial yet, though Dimora I is scheduled to begin in

a matter of days. At the risk of stating the obvious, Dimora’s freedom has yet to be

placed in jeopardy even once, let alone twice. Though procedurally distinct, a jurist of the

Supreme Court was faced with a somewhat analogous situation in Willhauck v. Flanagan,


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  In early pre-trial proceedings, counsel for the government has indicated that it anticipates the filing of a
superseding indictment in Dimora II, which may add new charges and new defendants.
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448 U.S. 1323 (1980). There, the defendant was charged in two separate counties with

state crimes arising out of the same high speed chase. Following the denial of his motions

to consolidate the two matters, he brought a civil rights action under 42 U.S.C. § 1983 in

federal court to obtain a declaration that the filing of the two state court actions violated

his rights under the Double Jeopardy and Due Process Clauses of the U.S. Constitution.

Following the denial of the motion for a temporary restraining order by the district court,

the defendant applied for a stay of his state criminal actions pending appeal in federal

court. Justice Brenan denied the application, finding it premature because jeopardy had

not yet attached in either criminal matter. 448 U.S. at 1326. He further noted that, once

jeopardy attached in one criminal action, the “applicant should be able to make his claim

before the second trial judge, at which time the courts can give due consideration to his

claim.” Id. (emphasis added).

               A similar result is dictated here. Like the application in Willhauck,

Dimora’s motion is premature because Dimora has yet to be exposed to any jeopardy.

Further, once he is exposed to jeopardy in the first action that goes to trial, the

appropriate remedy would be to seek a motion to dismiss the indictment in the second

action (i.e., Dimora II)—the action which would have the possibility of exposing him to

double jeopardy. As such, the present motion has been filed in the wrong case. Because

Dimora’s motion suffers from these two fatal defects, and because the Court cannot grant




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the relief Dimora seeks in this matter, the motion is DENIED as frivolous.

       IT IS SO ORDERED.


Dated: January 2, 2012
                                                HONORABLE SARA LIOI
                                                UNITED STATES DISTRICT JUDGE




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